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  DOWD, J.

                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

  United States of America                         )
                                                   )     CASE NO. 1:06CR594
                  Plaintiff(s),                    )
                                                   )
         v.                                        )     ORDER
                                                   )
  Demetrius Crawford                               )
                                                   )
                  Defendant(s).                    )
                                                   )



         The defendant and his counsel, Timothy Ivey appeared before this Court on July 1, 2011.

   A report and recommendation was filed on June 22, 2011. (See docket #1338). The Court

  adopts the report and recommendation of Magistrate Judge Nancy Vecchiarelli and finds the

  defendant in violation of his terms and conditions of supervised release.

         IT IS ORDERED that the defendant be committed to the custody of the Bureau of

  Prisons for a period of two (2) months with credit for time already served in custody. Upon

  release from confinement the term of supervised release will continue.

         IT IS SO ORDERED.


   July 1, 2011                                  /s/ David D. Dowd, Jr.
  Date                                         David D. Dowd, Jr.
                                               U.S. District Judge
